                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BROOKE SEGREST,                                 )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )          Case No. 4:20-cv-00062-RLW
                                                )
NATIONAL AVIATION SERVICES, LLC                 )
                                                )
        Defendant.                              )
                                                )


                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Brooke Segrest (“Plaintiff”) and Defendant National Aviation Services

 (“Defendant”) hereby stipulate to the dismissal of this action with prejudice pursuant to Rule

 41(a)(1)(ii) of the Federal Rules of Civil Procedure. Plaintiff and Defendant shall each bear their

 own respective costs and fees.

 Dated: March 6, 2020

     /s/ Jeffrey D. Hackney                          /s/ Lauren M. Sobaski
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                                 CERTIFICATE OF SERVICE



The undersigned hereby certifies that on March 6, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic receipt. Parties may access this filing via the Court’s

electronic filing system.




   _/s/ Jeffrey D. Hackney________________
